Case 1:22-cv-01032-PKC-JRC Document 200 Filed 04/22/23 Page 1 of 3 PageID #: 4026

                         MILMAN LABUDA LAW GROUP PLLC
                                        3000 MARCUS AVENUE
                                              SUITE 3W8
                                       LAKE SUCCESS, NY 11042
                                               _________

                                       TELEPHONE (516) 328-8899
                                       FACSIMILE (516) 328-0082
                                                                                 April 22, 2023
  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Pamela K. Chen, U.S.D.J.
  225 Cadman Plaza East
  Courtroom 4F North
  Brooklyn, NY 11201-1804

         Re:     IME WatchDog, Inc. v. Gelardi, et al.
                 Case No.: 1:22-cv-1032 (PKC) (JRC)
                 MLLG File No.: 25-2022            ___

  Dear Judge Chen:

         This office represents the Plaintiff IME WatchDog, Inc. (“Plaintiff”) in the above-
  referenced case. Plaintiff writes to request an extension of time of one (1) week to file its amended
  complaint.

  Relevant Procedural History

          On March 20, 2023, Defendants Anthony Bridda (“Bridda”), Gregory Elefterakis
  (“Elefterakis”), and Roman Pollak (“Pollak”) (Bridda, Elefterakis, and Pollak collectively
  hereinafter the “Defendants”) filed a letter motion for a pre-motion conference in anticipation of
  their motion to dismiss. See ECF Docket Entry 169. Plaintiff opposed on April 5, 2023. See ECF
  Docket Entry 186.

           On April 7, 2023, this Court denied Defendants’ letter motion and granted Plaintiff leave
  to file an amended complaint within fourteen (14) days, i.e., April 21, 2023. See Text Only Order
  dated April 7, 2023.

         On Friday at 4:55 PM, your undersigned sought Plaintiff’s consent for a one (1) week
  extension of time and has not received a response.

  Good Cause Exists to Grant an Extension of Time to File a Reply Letter in Further Support

            Consistent with ¶ 1(G) of this Court’s Individual Practices and Rules, Plaintiff respectfully
  submits that: (i) the current deadline to file an amended complaint was yesterday, April 21, 2023;
  (ii-iii) there have been no previous requests for an extension of time concerning this deadline; (iv)
  Defendants have not responded to Plaintiff’s request for consent; and (v) the requested extension
  does not affect any other scheduled Court appearance or deadline to Plaintiff’s knowledge.
Case 1:22-cv-01032-PKC-JRC Document 200 Filed 04/22/23 Page 2 of 3 PageID #: 4027


         The reason for the request is that Plaintiff needs additional time to prepare an amended
  complaint due to deadlines and appearances in other matters which prevented Plaintiff from
  seeking an extension of time earlier. Namely, and among other matters, your undersigned was
  engaged in six (6) meetings and conferences on Monday, an appearance in the New York County
  Supreme Court for a status conference which was four hours long on Tuesday, a bench trial in the
  Kings County Civil Court on Wednesday, and other motions and deadlines for the remainder of
  the week, all of which impeded on your undersigned’s ability to earlier complete the amended
  complaint or prepare the instant application.

          Accordingly, good cause and excusable neglect exist to warrant an extension of time of
  this deadline from April 21, 2023 to April 28, 2023 notwithstanding this Court’s requirement to
  request any extension of a filing deadline at least two (2) working days prior to the filing deadline.
  See Fed. R. Civ. P. 6(b)(1)(B); see also ¶ 1(G) of this Court’s Individual Practices and Rules.

         Plaintiff thanks this Court for its time, attention, and anticipated courtesies in this case.

  Dated: Lake Success, New York
         April 22, 2023                          Respectfully submitted,

                                                 MILMAN LABUDA LAW GROUP PLLC

                                                 __/s/ Emanuel Kataev, Esq.______________
                                                 Jamie S. Felsen, Esq.
                                                 Emanuel Kataev, Esq.
                                                 3000 Marcus Avenue, Suite 3W8
                                                 Lake Success, NY 11042-1073
                                                 (516) 328-8899 (office)
                                                 (516) 328-0082 (facsimile)
                                                 jamiefelsen@mllaborlaw.com
                                                 emanuel@mllaborlaw.com

                                                 Attorneys for Plaintiff
                                                 IME WatchDog, Inc.
  VIA ECF
  Warner & Scheuerman
  Attn: Jonathan D. Warner, Esq.
  6 West 18th Street, 10th Floor
  New York, NY 10011-4602
  (212) 924-7111 (telephone)
  (646) 692-0166 (direct dial)
  (212) 924-6111 (facsimile)
  jdwarner@wslaw.nyc

  Attorneys for Defendants
  Third-Party Plaintiffs
  Safa Abdulrahim Gelardi
  Vito Gelardi, and
  IME Companions LLC


                                                    2
Case 1:22-cv-01032-PKC-JRC Document 200 Filed 04/22/23 Page 3 of 3 PageID #: 4028


  VIA ECF
  Leo Shalit, P.C.
  Attn: Leo Shalit, Esq.
  45 Glen Cove Road
  Greenvale, NY 11548
  (833) SHALIT-1 (office)
  (646) 957-0009 (direct)
  (833) 742-5481 (facsimile)
  leo@shalit-law.com

  Attorneys for
  Third-Party Defendant
  Carlos Roa




                                        3
